Exhibit A

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RETAIL INSTALLMENT SALE CONTRACT

e SU0PLE FINANCE CHARGE
= THiS 1S A CONSUMER CREDIT COCUMENT
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UNION fe a M2 Bde
‘ou, the Buyar (arel Co-Buyer, ay) may bur ine wahecte below Fer cash or on creckt By signing Bigning Ihe contract, you choose to Duy the vehicle
‘Dn Credit under the sgrbernerté or fhe front and back of thie contract. You agree ka pay the Seller (sometimes “we” o¢ “us" in this contract) the:
Argunl Financed and Finance Charge aocoriing i ihe payment] schedule below. Vie will gure your finance charge on 4 daily basig. The
Disciogures below are part of fhe contract

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and retain its right to receive 2 part of the Finance Charge.

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NOTICE TO RETAIL GUYER: Oo nol sign this contrect in blank. You are entitled ia « copy of the contract at the time
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Page 2 of 3
OTHER IMPORTANT AGREEMENTS

1. FIHANCE CHARGE AND PAYMENTS

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& Hew ioe wt) apply payments. We may acply each
Payment fo ihe earned and unpaid pert of the Finance
Charge. to the unpaid part of the Amount Financed
and to other mounts you Gwe under this contract in
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the form of & larger or smaller final payment or, at our
option, more oF fewer payments of the seme amouti
as your scheduled paytnint with a smaier Gnal pay
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without cur writien permission. Ybu agree mot to
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involuntary lansier, Hf we pay any repair bis, storage
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to repey Ihe amount wher we ask for

s, Security interest.
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includes any refunds of premiums or charges trom
‘the contracts.

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the vehicle. H you do not have this surance, we may,
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The charge wil be Ihe cost of.ihe insurance and 3
finance charge ai the Annual Percentage Rate shown
an the frord of thug contract.

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* You sat « proteeding in bankrupicy or one is

* You break any agreements in Shig contract

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Amount Financed plus the earned ard unpeid part of the
Finance Charge. any late charges, and any amounis dus

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for thease toms back, we may dispose of them as the law

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Your righl lo vedeer ands when we sell the vehict.

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refuncde of unearned charges to reduce wha! you owe.

4. WARRANTIES SELLER DISCLAIMS

Undess the Seller makes an express warranty, of enters

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this contract, the Seller makes no warranties on the

vehicle, end there will be no Implied warnkities of
merchantability or of fitness for o particuier

purpose.
This provision dows nol aflect any warranties covering Ine
vehicie thal the vehicle manutacturer may provide.

5. Used Car Buyers Guide. The information you se8 on

the window form for thie vehicie lx part of this contract.
lnfermation on Ihe window form overrides any

vehicuios usados. La Informacién que ve en et
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contract.

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ASSERT AGAINST THE SELLER OF GOODS OF BERVICES OBTAINED PURSUANT HERETO CR

WITH THE PROCENDS HEREOF, RECOVERY HEREUNDER BY.THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY
HEREUNDER.

THE DEBTOR

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